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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

KEVIN GROS MARINE, INC., CIVIL ACTION

KEVIN GROS OFFSHORE, LLC and

HOUSTON CASUALTY COMPANY NO.: 2:11-CV-02340

versus SECTION: 8 (3)

QUALITY DIESEL SERVICE, INC. JUDGE MARY ANN VIAL

and TRAVELERS PROPERTY & LEMMON

CASUALTY INSURANCE

COMPANY OF AMERICA MAG. DANIEL E. KNOWLES, III

 

MEMORANDUM IN SUPPORT OF MOTION FOR
SUMMARY JUDGMENT ON WARRANTY CLAIMS

Quality Diesel Service, Inc. (“Quality Diesel’’), respectfully submits that it is
entitled to a partial summary judgment pursuant to Rule 56 of the Federal Rules of Civil
Procedure. Quality Diesel avers that Plaintiffs’ claims for breach of implied warranty of
workmanlike performance should be dismissed as a matter of law for two reasons: (1) the
Express Warranty governing the alleged faulty work, which was provided to Kevin Gros
Offshore, LLC and/or Kevin Gros Marine, Inc. (collectively referred to as “Kevin Gros”),
by Quality Diesel explicitly excludes claims for breach of the implied warranty of
workmanlike performance; and (2) in the alternative, Kevin Gros’ conduct precludes it
from recovering under the implied warranty of workmanlike performance. Accordingly,
for the following reason, summary judgment should be granted in favor of Defendant,

and against Plaintiff, dismissing all of Plaintiffs’ claims with prejudice.
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I. RELEVANT FACTUAL BACKGROUND.

A. ‘THE EXPRESS WARRANTY,

At the inception of the business relationship between Quality Diesel and Kevin
Gros in approximately 2004, Quality Diesel provided Kevin Gros with a copy of its
express warranty.! Prior to commencing any work, Quality Diesel initially required
Kevin Gros to sign all work estimates and quotes, both of which also contained Quality
Diesel’s standard express warranty language.” After several years, and many jobs later,
Quality Diesel’s relationship with Kevin Gros had developed into a comfortable and
trustworthy one.

As a result, Quality Diesel began to relax some of the formalities that it required

of Kevin Gros.’

Specifically, Quality Diesel no longer required that Kevin Gros sign
each quote, nor did Kevin Gros require that Quality Diesel provide them with a formal
quote for each job.' Quality Diesel also discontinued providing Kevin Gros with copies
of its Express Warranty.

At the time of the June 2010 overhaul, Kevin Gros cannot deny that it was fully
aware of the applicable terms of Quality Diesel’s warranties. Not only had there be many
conversations about the warranties between the parties, there were also many instances
where, despite not receiving a copy of the Express Warranty for a particular job, Kevin

Gros requested — and Quality Diesel honored — Quality Diesel’s Express Warranty on

that job.® On other jobs, Kevin Gros would request a repair and be told that the repair

 

Affidavit of Jason Bourgeois at 4] 7, attached hereto as Exhibit “A;” see also Warranty, attached hereto as
Exhibit “B.”

* An example of such a quotation is attached hereto as Exhibit “D.”

3 Affidavit of Jason Bourgeois at { 9.

"Td.

* Id.

° id, at $11, 12.

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was out of warranty and that Kevin Gros would be charged for the work. Because the
warranty was understood between the parties, there was no dispute or claim filed in those

situations.’

The Express Warranty provides that all work done by Quality Diesel outside of its

8 Also relevant to

own facility (a.k.a. “field work”), is subject to a 6-month guarantee.
this motion, the Express Warranty also provides that the expressed warranties provided
therein were Kevin Gros’ “exclusive remedy” against Quality Diesel and that all other
warranties provided by law were expressly waived:

The warranties and guarantees set forth in this section are intended as the

exclusive remedy of the Purchaser against Quality Diesel Service, Inc. for

any guarantee deficiency or damages, whether in contract or in tort, or

otherwise and/or in lieu of all implied warranties, included but not limited

to any implied warranties of merchants ability, fitness for a particular

purpose and workman-like services.”
Therefore, Quality Diesel expressly excluded all other express or implied warranties for
its work, and Kevin Gros’ own statements and actions clearly represented an agreement
with those terms.

B. THre MASTER VENDOR CONTRACT.

On or about February 1, 2009, Kevin Gros required Quality Diesel to execute a
Master Vendor Contract (“MVC”) in order for Quality Diesel to continue to enjoy Kevin

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Gros as a customer.

Although the MVC further provides that it will trump any conflicting “work

order,” it does not provide that it supercedes any prior or currently enforceable contract

 

"Id. a7.

® See Warranty, at p. 1, 4 2-

° See Warranty, at p. 2, 4 1. (emphasis added).

0 See Affidavit of Jason Bourgeois, at {] 13; see also MVC, attached hereto as Exhibit “C.”

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and/or express warranty. !! Accordingly, both the MVC and the Express Warranty
remained in force and effect during the overhaul in question.

C. THE JUNE 2010 OVERHAUL

In the Spring of 2010, Kevin Gros contacted Quality Diesel about performing an
“in-frame overhaul” of its two main engines in the M/V CAPTAIN WHITEY GROS.”
Prior to beginning the work, Jason Bourgeois of Quality Diesel met with Keith Bergeron,
Jamie Troisclair and Keith Guidry of Kevin Gros to discuss the scope of the overhaul.!?
In that meeting, they discussed what needed to be done to the engine, what Kevin Gros
wanted to be done, what parts should and should not be replaced, and the approximate
cost.'* Additionally, given thetr concerns regarding the costs of the overhaul, Kevin
Gros requested that Quality Diesel finance the cost of the work, to which Quality Diesel
reluctantly agreed, based on their extensive work history together.!> In an effort to save
money, Kevin Gros instructed Quality Diesel to reuse many parts, including the original
connecting rods,'®

The “in-frame overhaul” took place onboard the CAPTAIN WHITEY GROS
while it was docked at Bollinger Shipyards.'’ In further efforts to keep costs down,
Kevin Gros’ Port Captains, Blaine Pellegrin and Keith Bergeron, were provided to
supervise, assist, direct and in some cases perform some of the work Quality Diesel was
hired to perform.’® Since Kevin Gros’ Blaine Pellegrin was an experienced engine

mechanic, he provided his own expertise and labor in the engine room in addition to

 

" See MVC atp.1, J 1.

" Affidavit of Jason Bourgeois, at J 16.
'3 Id. at 717.

4 Td. at] 18.

9 Td at 19.

16 Id. at 420.

7 Id. at J 23.

8 id. at 424.

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supervising and/or contributing to a large part of the overhaul.!’ In further control of the
overhaul project, Kevin Gros declined certain work proposed by Quality Diesel.”” The
overhaul was completed on June 2, 2010, and the CAPTAIN WHITEY GROS performed
successful sea trials on June 4, 2010.7!

In line with the terms of the Express Warranty, Quality Diesel honored its 6-
month warranty on several occasions for subsequent minor repairs to the main engines.”
Moreover, a minimum of 13 additional repairs were required to the main engines after the
6-month warranty had expired.” In recognition that the warranty period had expired,
Kevin Gros either paid for or has promised to pay for each of those repairs.”4
Additionally, despite Plaintiff's allegations as to causation, between the time of the
overhaul and the time of the loss, Kevin Gros never complained about — nor did the
starboard main engine ever exhibit — any indications or problems that are typically
associated with improper torquing of connecting rod bolts (the alleged cause of the
failure).”°

Moreover, and presumably based on the extensive amount of damage alleged to
the CAPTAIN WHITEY GROS, Kevin Gros abruptly changed its position and advised

Quality Diesel that it intended to hold Quality Diesel responsible for the damages.”°

Thereafter, Quality Diesel responded by explaining that since its 6-month warranty had

 

id. at] 25.

0 Id. at {21.

1 Id. at 26.

*2 Td. at (27.

3 Id. at 428.

24 Td.

5 Td. at $29.

6 See Letter from Capt. A.J. Cantrelle dated May 9, 2011, attached hereto as Exhibit “E.”

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expired, it was not liable for the loss.?’ Houston Casualty Co., the subrogated insurer,
countered by arguing — contrary to its insured’s direct representations — to Quality Diesel
that it believed that no express warranty applied te the overhaul, and thus, it would
proceed against Quality Diesel under the implied warranty of workmanlike performance
(“WWLP”).”*

Kevin Gros has filed a Motion for Partial Summary Judgment (Rec. Doc. No. 13)
seeking a judgment from the Court that the MVC does not preclude its claims under the
WWLP. However, Kevin Gros fails to discuss the preclusion effect that the Express
Warranty has upon their WWLP claim. Accordingly, Kevin Gros’ Motion should be
denied, and a partial summary judgment should be entered in favor of Quality Diesel,
precluding Plaintiffs’ claims under the WWLP because such claims are barred by the
clear terms of the Express Warranty.

II. LAW AND ARGUMENT

A. SUMMARY JUDGMENT STANDARD.

Summary Judgment under Federal Rule of Civil Procedure 56 is appropriate when
“viewing the evidence in the light most favorable to the non-movant, there is no genuine
issue as to any material fact and the moving party is entitled to judgment as a matter of
law.””? Initially, the party moving for summary judgment must demonstrate the absence

of any genuine issues of material fact. “If the moving party meets the initial burden of

 

27 See Letter from Jason Bourgeois dated May 11, 2011, attached hereto as Exhibit ‘F.” Quality Diesel
attached an additional courtesy copy of the Express Warranty to its letter.

% See Letter from John Emmett dated June 15, 2011, attached hereto as Exhibit “G.”

* Levy v. Phillips and Jordan, Inc., 2011 WL 2580592, *2 (E.D. La. June 29, 2011) (Lemmon, J.) (quoting
Amburgey v. Corhart Refractories Corp. , 9366 F.2d 805, 809 (5th Cir. 1991); Fed. R. Civ. Pro. 56(c).

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establishing that there is no genuine issue, the burden shifts to the non-moving party to
produce evidence of the existence of a genuine issue for trial.”

The non-movant must demonstrate with “significant probative evidence” that
there is an issue of material fact warranting a trial.°! The non-movant cannot satisfy its
burden with “conclusory allegations, unsubstantiated assertions, or only a scintilla of
evidence.”*” “Rule 56(c) mandates the entry of summary judgment against a party who
has failed to make an evidentiary showing sufficient to establish an essential element of
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her case.

B. THE EXPRESS WARRANTY EXPLICITLY EXCLUDES THE IMPLIED
WARRANTY OF WORKMANLIKE PERFORMANCE.

The alleged loss in this case occurred more than 11 months after the June 2010
overhaul, well outside of the express six-month warranty provided to Kevin Gros by
Quality Diesel. Because of this, Plaintiffs have brought their claims under the WWLP.
As set forth below, the Express Warranty that governs all of Quality Diesel’s work for
Kevin Gros contained an exclusionary clause expressly waiving the WWLP. Therefore,
Plaintiffs’ claims for breach of the WWLP are barred, and summary judgment in favor of
Defendants is warranted.

1. THE IMPLIED WARRANTY OF WORKMANLIKE P&REFORMANCE

(WWLP).

Since the WWLP developed under the old regime of indemnification in maritime

tort law, it has consequently fallen into disfavor since the Supreme Court’s decision to

 

* Id. (citing Celotex Corp. v. Catrett, 106 S.Ct, 2548, 2552 (1986)).

3! Texas Manufactured Hous. Ass’n v. Nederland, 101 F.3d 1095, 1099 (Sth Cir. 1996), cert denied, 521
US. 1112 (1997).

* Levy, 2011 WL 2580592 at *2 (citing Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (Sth Cir. 1994).

3 Ward v, Bechtel Corp., 102 F.3d 199, 202 (5th Cir. 1997).

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abandon indemnification and adopt a comparative fault principle in admiralty.°4 This
warranty states that the “obligor in a service contract has a duty to perform his or her task
with reasonable care, skill, and diligence” If a contractor breaches its warranty, “and
the breach proximately causes liability on the part of the shipowner, then the shipowner is
entitled to indemnity unless its own conduct is ‘sufficient to preclude indemnity.””*°

Judges in this District has noted that the WWLP “is on the verge of judicial

extinction.”?”

Indeed, in Kevin Gros Offshore, Judge Feldman notes that “the Fifth
Circuit has described the doctrine as ‘withered’ and has refused ‘to extend the doctrine
beyond those controversies involving the special rules governing the obligation and
liability of shipowners which necessitated its formulation.’”**

Although the WWLP is implied in every maritime services contract, the partics
are allowed to specifically exclude it.*” Additionally, Plaintiffs have acknowledged the
validity of an express waiver of the WWLP, and argued in their motion that their claims
are viable solely because no waiver exists in the MVC.” Therefore, because the Express

Warranty is applicable, and it contains an express waiver, there are no genuine issues of

material fact as to whether Plaintiffs’ claims under the WWLP are barred.

 

** See Tidewater Marine, Inc. v. Sanco Intern., Inc., 1997 WL 543108, *9 (E.D. La., 1997) (Vance, J).

*° B & B Schiffarhts GMBH & Co. v. Am. Diesel & Ship Repairs, Inc., 136 F. Supp.2d 590, 597 (E.D. La.
2001) (Barbier, J.) (quoting Caribbean Bulk Carriers Lid. vy. Mortor-Services Hugo Stamp, Inc., 1996 WL
210716, *3 (ED. La. Apr. 26, 1996)).

8 Parfait v. Jahncke Service, Inc., 484 F.2d 296, (Sth Cir. 1973) (quoting Weperhaeser Steamship Co. v.
Nacirema Operating Co., 355 U.S. 563, 567 (1958)).

47 Kevin Gros Offshore, LLC v. Max Welders, Inc., 2009 WL 152134, *4, n.8 (E.D, La. Jan, 22, 2009)
(Feldman, J.); Tidewater Marine, Inc. v. Sanco Intern., Inc., 1997 WL 543108 at *9.

3 Kevin Gros, 2009 WL 152134 at *4, 1.8. (quoting Nathaniel Shipping, Inc. v. Gen. Elec. Co., 920 F.2d
1256, 1264 (Sth Cir. 1991)); see also LCI Shiphaldings, Inc. v. Muller Weingarten AG, 2005 WL 2901908
(5th Cir. 2005) (citing cases doubting the continued vitality of the Ryan approach outside the personal
injury context and noting that “because this case is outside the personal injury/seaworthiness context, we
find no basis for the application of the theory of breach of a WWLP”’).

® See Parfait, supra; ENSCO Marine Co. v. Bird-Johnson Co., 2004 WL 2984338 (E.D. La. Dec. 15,
2007) (Vance, J.).

© See Memorandum in Support of Motion for Partial Summary Judgment, pp. 6-8 (Rec. Doc. No. 13-1}.
Plaintiffs conspicuously ignore the Express Warranty.

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2. THE HISTORY OF BUSINESS DEALINGS MAKES THE EXPRESS
WARRANTY APPLICABLE EVEN THOUGH IT WAS NOT PROVIDED TO

KEVIN GROS SPECIFICALLY FOR THE OVERHAUL,
It is anticipated that Kevin Gros will argue that the Express Warranty is

inapplicable because a copy of the Express Warranty was not provided to Kevin Gros

specifically for the overhaul. However, this argument is incorrect per controlling U.S.

 

 

Fifth Circuit precedent.
a. THE FiFTH CIRCUIT CREATED THE HISTORY OF BUSINESS
DEALINGS TEST IN CAMPBELL V. SONAT OFFSHORE DRILLING,
Inc”

The case law in the U.S. Fifth Circuit holds that an express warranty between a
vendor and its customer may be enforceable even when not actually provided to the
customer, where the prior course of business dealings between the parties was such that
the repetitious production of the express warranty was unnecessary.”

In Campbell v. Sonat Offshore Drilling, Inc., the co-defendants disagreed about
the applicability of a defense and indemnity agreement because the purchase order was
issued to one defendant, Frank’s, by the other defendant, UTP, thirteen days after the
accident occurred.” The U.S. Fifth Circuit held that:

[w]here parties share a history of business dealings and standardized

provisions have become part of those dealings, such familiar provisions

within purchase orders issued after performance are binding where they
are accepted without objection.”*

 

“979 F.2d 1115 (Sth Cir. 1992), superceded by statute on other grounds.

” See, e.g., Campbell, supra.

8 Campbell, 979 F.2d at 1119.

“ Campbell, 979 F.2d at 1120 (citing Grillet v. Sears, Roebuck & Co., 927 F.2d 217, 220 (Sth Cir. 1991)
(stating that “[a] party cannot be permitted to retain the benefits received under a contract and at the same
time escape the obligation imposed by the contract.”), superceded by statute, Oberg v. Allied Van Lines,
ine., 1992 WL 186098 (N.D, Ill. July 24, 1992); see also M/V American Queen v. San Diego Marine
Constr. Corp., 708 F.2d 1483, 1488-1489 (9th Cir. 1983) (in holding that standardized form of ship repair
contract was enforceable even though executed after work was performed, recognizing that “it is a practice
in the ship repair industry to do repair work before sending an invoice containing the contract for repairs”),
Hudson Waterways Corp. v. Coastal Marine Serv., Inc., 436 F.Supp. 597, 604-605 (E.D. Tex. 1977) (past

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In applying its holding, the Fifth Circuit found that:

(1) UTP and Frank’s have conducted business on a regular, continuous
basis for years, (2) it is common practice between UTP and Frank’s for
individual purchase orders to postdate the services rendered, (3) the basic
indemnity language in these UTP-Frank’s contracts has remained
constant, and (4) as for the specific contract at issue, UTP paid Frank’s in
accordance with the contract’s terms and Frank’s accepted that payment
without obj ection.”
Based on these findings, the Fifth Circuit upheld and enforced the alleged contract

between Frank’s and UTP.
b. THE CASE LAW_IN THE EASTERN DISTRICT SUPPORTS A

FINDING THAT KEVIN GROS AND QUALITY DIESEL’s
HISTORY OF BUSINESS DEALINGS SATISFIES THE TEST.

In order to apply the “history of business dealings” rule, the trial court must
determine “whether the party defending the enforcement in fact expected that the usual
terms would apply to its work.’*° Additionally, there does not appear to be a bright-line
rule governing the duration of time or the number of business dealings that are required
before the Campbell rule applies. The Eastern District of Louisiana has simply stated, “a
significant course of dealings between parties who are aware from their prior dealings of
liability limiting terms contained on an invoice may justify giving effect to the limitation
of liability in subsequent dealings where the invoice is sent after performance.”*’

In Hudson Waterways Corp. v. Coastal Marine Service, Inc., the court enforced a

limitation of liability clause found on a repair contract despite the fact that the contract

 

business dealings provided sufficient notice to vessel owner that clause was implied in every repair
contract)).

* Td. at 1119-1120.

“6 Flanagan, Harold J. and Bryan C. Reuter, Purchase Order Contracts: A Whole Lot More Than You
Bargained For?, 46 Loy. L, REV. 365, 373 (Summer 2000).

” B & B Schiffahrts, 136 F, Supp.2d at 598 (emphasis added) (holding that three dealings in over two years
was not significant enough); c.f Lykes Bros. S.S. Co. v. Waukesha Bearings Corp., 502 F. Supp. 1163,
1172-73 (E.D. La. 1980) (finding that nine dealings was sufficient to find a course of business dealings).

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was sent to plaintiff after the repair work was done.** The Court was “of the opinion that
the plaintiff was on full notice that the clause was implied in every repair contract
between the plaintiff and the defendant, ... because the custom in ship repair industry is
to first do the repair work, and then send out the invoice which contains it on the
contract"? Between 1970 and 1975, defendant did 102 separate repair jobs for the
plaintiff, and in each job, the invoice and contract were sent to the plaintiff after the work
was completed.” “The Court believes this is sufficient to put the Plaintiff on full notice
that this clause was implied in every repair contract.”*!

In Boston Old Colony Ins. Co. v. K&S Diesel Service, Inc., a case similar to ours,
Judge Engelhardt denied summary judgment on a disputed issue of fact that is not present
in this case.” In January of 2002, Dawn Services entered into a verbal agreement with
K&S Diesel for the purchase and installation of a replacement port main engine into
Dawn’s vessel, In October of 2002, the port engine purchased from K&S Diesel broke
down and failed, allegedly rendering the engine useless.” Dawn’s insurer filed suit to
recover for all damages resulting from the engine failure. Just as in this case, K&S
Diesel responded that plaintiff's recovery was limited by a six-month warranty issued by
K&S Diesel which had expired prior to the date of loss."

K&S Diesel argued that the warranty information was provided to Dawn in every

other prior contract between K&S Diesel and Dawn regarding the purchase and

 

“8 436 F.Supp. 597 (E.D. Tex. 1977).

® Td. at 604.

5 id.

1 id at 605.

29005 WL 840483 (E.D. La. April 8, 2005).
53 id. at *1.

4 id at *5.

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installation of several engines over the entities’ nine-year business relationship.” In
support of their argument, K&S Diesel submitted several un-sworn declarations from its
officers. Plaintiff argued that the warranty was not binding because there had been no
showing of mutual consent to the terms and conditions of the warranty, and the language
appearing in a document issued at an indefinite time after the formation of the contract
cannot be enforced against them.°° Thus, Plaintiff argued that they were entitled to
pursue a breach of WWLP claim against K&S Diesel.

Judge Engelhardt’s denial of K&S Diesel’s motion was based solely on a finding
that it was still disputed whether K&S Diesel offered and provided Dawn with the
warranty information at the consummation of the verbal contract, and if so, when and
whether the warranty was accepted by Dawn. That dispute is not present in the instant
litigation. In fact, Judge Engelhardt stated that save that issue, K&S Diesel had presented
“strong evidence” showing that the warranty had expired and that it was likely that
Plaintiff was aware, through the course of its business dealings that the engine work was
out of warranty.

K&S Diesel is factually similar to our case in many respects: (1) QDS has sold
parts and performed services for Kevin Gros for more than seven years (which includes
more than 500 separate jobs);"’ (2) for the overhaul in question, no warranty was
provided to Kevin Gros at the time of the verbal agreement, but was provided very
shortly after the engine failed; and (3) the warranty was written in 2004 and has not been

modified. Additionally, Kevin Gros has been provided with the Express Warranty

 

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5? Affidavit of Jason Bourgeois, at § 6.
% Id. at 78.

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numerous times over the years and is well aware of its applicability on every job.’ That
fact cannot be disputed by Kevin Gros.

Unlike K&S Diesel, however, Quality Diesel submits a sworn affidavit from
Jason Bourgeois, President of Quality Diesel. Therein, Mr. Bourgeois attests to all
relative facts that clearly set forth the facts and circumstances surrounding the history of
business dealings with Kevin Gros (something that was not done in the K&S Diesel case).
Furthermore, Mr. Bourgeois has been told on at least one occasion after the loss, by
Kevin Gros’ Port Captain Keith Bergeron, that they were fully aware of the terms of the
Express Warranty and acknowledged that the Express Warranty had expired.°’ Given
these circumstances and that no genuine issue of material fact is at issue, a partial
summary judgment should be entered ruling that the Express Warranty was in full force
and effect between the parties, and thus, Plaintiffs’ claims under the WWLP should be
dismissed, with prejudice.

Cc. AS A MATTER OF LAW, KEVIN GROS’? OWN CONDUCT BARS ANY CLAIMS
UNDER THE IMPLIED WARRANTY OF WORKMANLIKE PERFORMANCE.

As plaintiff, Kevin Gros has the burden of establishing (1) that Quality Diesel
negligently performed the engine repair; and (2) a causal relationship between negligence
and such damages.” Furthermore, because the WWLP has its roots in tort negligence,
comparative fault principles also apply for maritime property damage claims.”

As noted infra, since the WWLP developed under the regime of indemnification

in maritime tort law it has consequently fallen into disfavor since the Supreme Court's

 

* Affidavit of Jason Bourgeois, at ]7, 8, 11 and 12,

60 See Affidavit of Jason Bourgeois, attached hereto as Exhibit “A.”

8! Fd. at 430.

62 Marquetie Transp. Co., Inc. v, La, Machinery Co., Inc., No. 00-1504, 2002 WL 1809092, *14 (E.D. La.
Aug. 7, 2002).

83 See ENSCO Marine Co., 2004 WL 2984338, at *8 (citing Bosnor v. L.A. BARRIOS, 796 F.2d 776 (Sth
Cir. 1986)).

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decision to abandon indemnification and adopt a comparative fault principle in
admiralty. Since recognizing the comparative fault doctrine, the U.S. Fifth Circuit has
eliminated virtually every variety of tort indemnity once available under maritime law
and has discouraged the extension of the WWLP.© When determining whether to extend
the WWLP, this Court has stated that the application of the warranty under the facts of a
particular case rests upon the elements of expertise, control, supervision, and ability to
prevent accidents.

For example, a contractor’s breach of the WWLP is excusable if the shipowner’s
conduct is “sufficient to preclude recovery of indemnity.”*’ To determine whether the
shipowner has engaged in conduct sufficient to preclude indemnity, “the conduct in
question must be weighed against the contractor’s breach of warranty under contract
principles.”™

In this case, the WWLP does not apply because Kevin Gros did not rely on the
expertise of Quality Diesel. Rather, Kevin Gros mandated that the overhaul work in
question be performed outside of Quality Diesel’s own facility.” This decision by Kevin
Gros affected the engine work by restricting Quality Diesel’s access to certain tools and
equipment which were only available in Quality Diesel’s shop.” Kevin Gros also

dictated the scope of the engine overhaul and selected which engine parts would be

 

* Tidewater Marine, Inc., 1997 WL 543108 at *9 (citing United States v. Reliable Transfer Co., 421 U.S.
397 (1975)).
® Td. (citing Hardy v. Gulf Oil Corp., 949 F.2d 826, 833 (Sth Cir.1992)).
% See Id. (citing Fairmont Shipping Corp. v. Chevron Intern. Oil Co., Inc., 511 F.2d 1252, 1257 (SD.N.Y.,
1975)).
6? See Weyerhaeuser Steamship Co. v. Nacirema Operating Co., 355 U.S. 563, 567 (1958).
® Parfait, 484 F.2d at 302 (citing Waterman Steamship Corp. v. David, 353 F.2d 660 (5th Cir. 1966)).
, Affidavit of Jason Bourgeois, at { 23.
td.

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replaced.” Additionally, while the work was ongoing, Kevin Gros’ port captains, Keith
Bergeron and Blaine Pellegrin, supervised, directed, assisted in, and inspected the engine
overhaul performed by Quality Diesel.” Specifically, Pellegrin spent the majority of his

time personally assisted Quality Diesel’s mechanics in the engine room.”

Pellegrin,
himself is an experienced diesel engine mechanic and contributed and often interjected
his expertise into the overhaul, in such way that Quality Diesel was unable to exercise its
own expertise or control over the work they were contracted to perform.” In fact, during
the overhaul, Kevin Gros specifically declined certain work proposed by Quality
Diesel.”

Clearly, Kevin Gros did not rely on Quality Diesel’s expertise with respect to the
subject engine overhaul. Kevin Gros’ involvement in the overhaul was to such an extent
that they dictated which parts to replace, where the work was to be performed, and in
some instances, how it was to be performed. Additionally, Kevin Gros’ port captains
spent a significant amount of time assisting supervising, in some cases, performing
Quality Diesel’s work. Consequently, Kevin Gros’ own conduct precludes it from
asserting any claims against Quality Diesel for breach of the WWLP as a matter of law.
As such, Quality Diesel is entitled to a partial summary judgment dismissing Plaintiffs’
claims under the implied warranty of workmanlike performance.

i. CONCLUSION

For the foregoing reasons set forth above, Quality Diesel respectfully requests that

a partial summary judgment be entered on behalf of Quality Diesel and against Kevin

 

71 Yd. at 18, 20.
2 Id. 24.

Bid. 25.

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% id at{ 21.

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Gros, dismissing all claims asserted in the Complaint under the implied warranty of

workmanlike performance, as a matter of law and with prejudice.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 6" day of March, 2012, I electronically filed the
foregoing with the Clerk of Court by using CM/ECF system which will send a notice of

electronic filing to all counsel of record.

 

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